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              EXHIBIT 9
               Case 2:21-cv-00563-JNW            Document 471-9          Filed 06/26/25       Page 2 of 5




From:                              Gary Mason <gmason@masonllp.com>
Sent:                              Wednesday, February 5, 2025 9:50 AM
To:                                AAA Victoria Chandler; Mishkin, Jeremy; Casper, Chuck
Cc:                                Papianou, John; Day, Robert; McCardell, Rachel; Insana, Lauren Sheller; Theo Bell;
                                   Danielle Perry; Goldman, Benjamin; Mari Gribble; Slawe, Meredith C (NYC); McTigue Jr.,
                                   Michael W (NYC)
Subject:                           Re: Individual Claimants v. Valve Corporation - Case 01-23-0005-8758



  *** External E-Mail – Use Caution ***


All:

I neglected to remove the Vorys attorneys from my prior email. I have deleted them here. Please reply to
this email to this email, or start a new email chain, going forward.

Gary




Gary E. Mason
Partner
Mason LLP
d 202.640.1160 m 202.256.8540 | gmason@masonllp.com


       Book time to meet with me



From: Gary Mason
Sent: Wednesday, February 5, 2025 8:37 AM
To: AAA Victoria Chandler ; Mishkin, Jeremy ; Casper, Chuck
Cc: Papianou, John ; Day, Robert ; McCardell, Rachel ; Matthews, Douglas R. (Doug) ; Insana, Lauren Sheller ; McGranor,
Timothy B. (Tim) ; Theo Bell ; Danielle Perry ; Mundy, Kara M. ; Goldman, Benjamin ; Rubin, Kenneth J. ; Mari Gribble ;
'Slawe, Meredith C' ; McTigue Jr., Michael W
Subject: Re: Individual Claimants v. Valve Corporation - Case 01-23-0005-8758
Victoria,

The mediation yesterday was unsuccessful. Please lift the hold and re-commence the arbitration
procedures.

As per my email below, the letters that were due to the AAA on Tuesday, August 20, 2024, are now due to
the AAA seven (7) business days from today (February 14, 2025).

Gary

                                                             1
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Gary E. Mason
Partner
Mason LLP
d 202.640.1160 m 202.256.8540 | gmason@masonllp.com


       Book time to meet with me



From: AAA Victoria Chandler
Sent: Wednesday, August 21, 2024 10:10 AM
To: Gary Mason ; Mishkin, Jeremy ; Casper, Chuck
Cc: Papianou, John ; Day, Robert ; McCardell, Rachel ; Matthews, Douglas R. (Doug) ; Insana, Lauren Sheller ; McGranor,
Timothy B. (Tim) ; Theo Bell ; Danielle Perry ; Mundy, Kara M. ; Goldman, Benjamin ; Rubin, Kenneth J. ; Mari Gribble ;
'Slawe, Meredith C' ; McTigue Jr., Michael W
Subject: RE: Individual Claimants v. Valve Corporation - Case 01-23-0005-8758
Counsel –
Thank you for the correspondence below. This email confirms that we will now place the 19,911 individual cases on hold.
We wish the parties all the best in their mediation.
Sincerely,
Victoria
              AAA Victoria Chandler
              Director of ADR Operations
              American Arbitration Association
              T: 612 278        F: 612 342      E:
              5124              2334            VictoriaChandler@adr.org
              2355 Highway 36 West, Suite 400, Roseville, MN 55113
              adr.org | icdr.org | aaamediation.org


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distribution or copying of this transmittal is prohibited except by or on behalf of the intended recipient. If you have received this transmittal in error, please notify me immedia
reply email and destroy all copies of the transmittal. Thank you.


From: Gary Mason
Sent: Tuesday, August 20, 2024 2:39 PM
To: AAA Victoria Chandler ; Mishkin, Jeremy ; Casper, Chuck
Cc: Papianou, John ; Day, Robert ; McCardell, Rachel ; Matthews, Douglas R. (Doug) ; Insana, Lauren Sheller ; McGranor,
Timothy B. (Tim) ; Theo Bell ; Danielle Perry ; Mundy, Kara M. ; Goldman, Benjamin ; Rubin, Kenneth J. ; Mari Gribble ;
'Slawe, Meredith C' ; McTigue Jr., Michael W
Subject: Re: Individual Claimants v. Valve Corporation - Case 01-23-0005-8758
*** External E-Mail – Use Caution ***
Victoria,
The parties have agreed to put the above-captioned matter on administrative hold pending the mediation
scheduled for January 14, 2025, before Robert A. Meyer of JAMS.
The parties have further agreed that if arbitrable issues are identified prior to the mediation, either party
decides not to proceed with the mediation, or the mediation is otherwise unsuccessful, upon notice of
either party, the AAA will immediately lift the hold and AAA will re-commence the arbitration procedures.
The parties agree that, if either party provides said notice, that the letters due to the AAA on Tuesday,
August 20, 2024, will be due to the AAA seven (7 ) business days after the provision of notice.
Gary Mason
Gary E. Mason
Partner
                                                                                   2
                   Case 2:21-cv-00563-JNW                          Document 471-9                   Filed 06/26/25               Page 4 of 5
Mason LLP
d 202.640.1160 m 202.256.8540 | gmason@masonllp.com
    Book time to meet with
    me

From: AAA Victoria Chandler <VictoriaChandler@adr.org>
Sent: Tuesday, August 6, 2024 8:51 AM
To: Mishkin, Jeremy <jmishkin@mmwr.com>; Casper, Chuck <ccasper@mmwr.com>; Gary Mason
<gmason@masonllp.com>
Cc: Papianou, John <jpapianou@mmwr.com>; Day, Robert <RDay@mmwr.com>; McCardell, Rachel
<RMcCardell@mmwr.com>; Matthews, Douglas R. (Doug) <drmatthews@vorys.com>; Insana, Lauren Sheller
<LSheller@mmwr.com>; McGranor, Timothy B. (Tim) <tbmcgranor@vorys.com>; Theo Bell <tbell@masonllp.com>;
Danielle Perry <dperry@masonllp.com>; Mundy, Kara M. <kmmundy@vorys.com>; Goldman, Benjamin
<BGoldman@mmwr.com>; Rubin, Kenneth J. <kjrubin@vorys.com>; Mari Gribble <mgribble@masonllp.com>; 'Slawe,
Meredith C' <Meredith.Slawe@skadden.com>; McTigue Jr., Michael W <Michael.McTigue@skadden.com>
Subject: RE: Individual Claimants v. Valve Corporation - Case 01-23-0005-8758
Good Morning –
Thank you for the update. I will extend the timeframe two weeks, making the new due date August 20, 2024. Should
parties need additional time beyond that, or if I can assist in answering any additional questions, please do not hesitate to
reach out.
Take Care,
Victoria



              AAA Victoria Chandler
              Director of ADR Operations
              American Arbitration Association
              T: 612 278       F: 612 342      E:
              5124             2334            VictoriaChandler@adr.org
              2355 Highway 36 West, Suite 400, Roseville, MN 55113
              adr.org | icdr.org | aaamediation.org

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distribution or copying of this transmittal is prohibited except by or on behalf of the intended recipient. If you have received this transmittal in error, please notify me immedia
reply email and destroy all copies of the transmittal. Thank you.




From: Mishkin, Jeremy <jmishkin@mmwr.com>
Sent: Tuesday, August 6, 2024 7:34 AM
To: AAA Victoria Chandler <VictoriaChandler@adr.org>; Casper, Chuck <ccasper@mmwr.com>; gmason@masonllp.com
Cc: Papianou, John <jpapianou@mmwr.com>; Day, Robert <RDay@mmwr.com>; McCardell, Rachel
<RMcCardell@mmwr.com>; drmatthews@vorys.com; Insana, Lauren Sheller <LSheller@mmwr.com>;
tbmcgranor@vorys.com; tbell@masonllp.com; dperry@masonllp.com; kmmundy@vorys.com; Goldman, Benjamin
<BGoldman@mmwr.com>; kjrubin@vorys.com; mgribble@masonllp.com; 'Slawe, Meredith C'
<Meredith.Slawe@skadden.com>; McTigue Jr., Michael W <Michael.McTigue@skadden.com>
Subject: RE: Individual Claimants v. Valve Corporation - Case 01-23-0005-8758
   *** External E-Mail – Use Caution ***
Dear Ms. Chandler,
I write to request a two-week extension of time in this matter. Counsel for all parties – copied here - have consented to
this extension.
Thank you for your courtesy and your attention.



                                                                                   3
                    Case 2:21-cv-00563-JNW                             Document 471-9                    Filed 06/26/25                Page 5 of 5
                      Jeremy D. Mishkin | Partner
                      Montgomery McCracken Walker & Rhoads
                      LLP
                      1735 Market Street | Philadelphia, PA 19103-7505
                      Direct: 215-772-7246 | Cell: 610-952-6841
                      jmishkin@mmwr.com | Attorney Profile

From: VictoriaChandler@adr.org <VictoriaChandler@adr.org>
Sent: Monday, July 29, 2024 7:01 PM
To: Casper, Chuck <ccasper@mmwr.com>; gmason@masonllp.com
Cc: Papianou, John <jpapianou@mmwr.com>; Mishkin, Jeremy <jmishkin@mmwr.com>; Day, Robert
<RDay@mmwr.com>; McCardell, Rachel <RMcCardell@mmwr.com>; drmatthews@vorys.com; Insana, Lauren Sheller
<LSheller@mmwr.com>; tbmcgranor@vorys.com; tbell@masonllp.com; dperry@masonllp.com; kmmundy@vorys.com;
Goldman, Benjamin <BGoldman@mmwr.com>; kjrubin@vorys.com; mgribble@masonllp.com
Subject: Individual Claimants v. Valve Corporation - Case 01-23-0005-8758
**CAUTION** External Email
Hello,

Please review the attached correspondence regarding the above-referenced case.

Feel free to contact me with any questions, comments or concerns you have related to this matter.

Thank you.

               AAA Victoria Chandler
               Director of ADR Operations
               American Arbitration Association

               T: 612 278 5124 F: 612 342 2334 E:
               VictoriaChandler@adr.org
               2355 Highway 36 West, Suite 400, Roseville, MN 55113
               adr.org | icdr.org | aaamediation.org


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